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Alexander Emric Jones                                                              Case No. 22-33553
                                    Part 1 - Statement of Cash Receipts and Disbursements
                                                                June 1-14, 2024

                              PNC DIP       Prosperity Bank Security Bank   Chase      B of A      Chase      B of A     Asset Sales
            Bank Account                                                                                                                Total
                               #5233             #9175          #8548       #7518      #2913       #3520      #6078      Escrow Acct

Opening Balance                 624,237                853         1,053      1,072         454       1,207        826                   629,702

    Cash Receipts               194,368                                                                                    2,785,789    2,980,157

    Cash Disbursements          (140,831)                                       (25)       (126)                            (511,790)   (652,772)

    Net Cash Flow               677,774                853         1,053      1,047         328       1,207        826     2,273,999    2,957,087

    Transfer In                                                                                                                                 0
    Transfers Out                                                                                                                               0

Ending Bank Balance             677,774                853         1,053      1,047         328       1,207        826     2,273,999    2,957,087
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                             Alexander E Jones
                               Balance Sheet
                                As of June 14, 2024

                                                            Total
   ASSETS
    Current Assets
     Bank Accounts

     Asset Sales Escrow Account - Restricted Cash (1)          2,273,999
       Bank of America #2913                                           328
       Bank of America #6078                                           826
       Chase #3520                                                    1,207
       Chase #7518                                                    1,047
       PNC #5233 DIP                                                677,774
       Prosperity Bank #9175                                           853
       Security Bank #8548                                            1,053
     Total Bank Accounts                                $      2,957,086
     Accounts Receivable
       Accounts Receivable                                          112,365
     Total Accounts Receivable                          $           112,365
     Other Current Assets
       Bitcoin Account                                                1,882
       Cash on Hand                                                   5,000
       GiveSendGo-Legal                                              11,703
       Inventory Platinum                                           185,086
       Prepayment -Legal Account                                     40,000
       Rental Property Escrow                                        11,343
     Total Other Current Assets                         $           255,013
    Total Current Assets                                $      3,324,465
    Fixed Assets
     Homestead                                                 2,612,800
     Lakehouse                                                 1,750,000
     Rental Property                                                505,000
     Vehicles and Marine Assets
       Dodge Charger                                                 70,618
       Ford Expedition                                               21,463
     Total Vehicles and Marine Assets                   $            92,081
    Total Fixed Assets                                  $      4,959,881


     Interests In Trust                                             128,341
     Ownership Interests in Non Public Entities                      17,302
     Personal Property                                              117,688
     Receivable from Descendants Trust                               33,836
     Receivable from Mrs. Jones                                       8,363
    Total Other Assets                                  $           305,531
   TOTAL ASSETS                                         $      8,589,876



   Case 22-33553                                                              Unaudited
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                              Alexander E Jones
                                Balance Sheet
                                    As of June 14, 2024

                                                                              Total
   LIABILITIES AND EQUITY
    Liabilities
      Current Liabilities
        Accounts Payable
          Accounts Payable                                                              3,544
        Total Accounts Payable                                         $                3,544
        Other Current Liabilities
          Accrued Pre Nuptial Obligation                                               78,956
          Accrued Professional Fees                                                    13,810
          Accrued Property Tax Payable                                                 40,630
          Payroll Tax Payable-Child Care                                                   396
          Payroll Tax Withheld-Child Care                                               1,237
        Total Other Current Liabilities                                $              135,029
      Total Current Liabilities                                        $              138,573
      Long-Term Liabilities
        Rental Property Mortgage                                                       25,204
      Total Long-Term Liabilities                                      $               25,204
    Total Liabilities                                                  $              163,777
    Equity
      Opening Balance Equity                                                      13,039,233
      Owner's Investment
        Other Deposits/Transfers                                                      171,668
      Total Owner's Investment                                         $              171,668
      Owner's Pay & Personal Expenses
        Gifts                                                                          63,919
      Total Owner's Pay & Personal Expenses                            $               63,919
      Retained Earnings                                                           -2,296,679
      Net Income                                                                  -2,552,042
    Total Equity                                                       $           8,426,099
   TOTAL LIABILITIES AND EQUITY                                        $           8,589,876


   Notes:
   (1) Asset escrow account established per court order to retain sales proceeds of non-
   exempt assets. Ranch sale, boat sale and sale of firearms occurred in June.
   Professional fees of $511,790 paid from account in June.




   Case 22-33553                                                                                 Unaudited
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                          Alexander E Jones
                           Profit and Loss
                                June 1-14, 2024

                                                      Total
   Income
    Advertising Income                                          7,469
    Book Sales Income                                          20,369
    FreeSpeech Payroll                                         25,000
    Interest Income                                                0
    Rental Income                                               1,200
    Royalty Income                                            147,262
    Sales of Product Income                                   129,074
      Cost of Goods Sold                                      -22,316
      Selling Expense                                         -50,166
    Total Sales of Product Income                 $            56,592
   Total Income                                   $           257,892
   Payroll Deductions
    Child Support- Garnished                                     923
    Medical Insurance Premiums                                   581
    Payroll Taxes withheld                                      7,794
   Total Payroll Deductions                       $             9,298
   Gross Profit                                   $           248,594
   Expenses
    Living Expenses
      Auto/Trucks/Watercraft
        Auto/Boat Maintenance                                    194
        Fuel                                                     278
      Total Auto/Trucks/Watercraft                $              473
      Family
        Child Care                                              7,105
        Groceries                                               1,445
        Homestead
         Maintenance                                             799
            Misc. Supplies and Services                         1,342
         Total Maintenance                        $             2,141
         Phone/Internet                                          376
         Property Tax                                           4,800
         Repairs                                                 870
         Utilities                                              1,629
        Total Homestead                           $             9,816
        Household Purchases                                      877
        Insurance                                                126
        Meals & Entertainment                                    610
         Apple/Netflix/Hulu charges                             2,445
        Total Meals & Entertainment               $             3,056
        Medical                                                79,788
        Other                                                    361
        Personal Expenses                                       1,000
        PreNup Obligation                                      15,791
        School and Kid's Activities
         Activities                                              518
        Total School and Kid's Activities         $              518
      Total Family                                $           119,883
    Total Living Expenses                         $           120,355

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                          Alexander E Jones
                           Profit and Loss
                               June 1-14, 2024

                                                      Total
    Other Expenses
      Bank Charges & Fees                                         25
      Business Expenses                                         1,018
      Interest Paid                                              135
      Legal & Professional Services                           511,790
      Loss/(Gain) on Sale of Assets                       -573,915
      Real Estate
       Lakehouse
         Lakehouse Maintenance                                   600
         Lakehouse Property Tax                                 1,280
         Lakehouse Utilities                                      42
       Total Lakehouse                           $              1,922
       Ranch property                                          17,451
         Taxes Paid                                            35,760
       Total Ranch property                      $             53,211
      Total Real Estate                          $             55,133
      Rental Storage Units                                       122
    Total Other Expenses                         -$             5,693
    US Trustee Fees                                             5,200
   Total Expenses                                $            119,862
   Net Operating Income                          $            128,732
   Other Income
    Donations                                                   7,021
   Total Other Income                            $              7,021
   Other Expenses
    Commission Paid on Sale of Assets                          65,835
   Total Other Expenses                          $             65,835
   Net Other Income                              -$            58,814
   Net Income                                    $             69,917




   Case 22-33553                                                        Unaudited
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Alexander Emric Jones                             Case No. 22-33553
               Schedule of Payments to Professionals
                                June 1-14, 2023
          Firm Name                         Role                  Amount

     BlackBriar Advisors        Financial Advisors                     57,859
     Crowe Dunlevy, P.C.        Co-Counsel to Debtor                  355,873
        Jordan & Ortiz          Co-Counsel to Debtor                   10,832
             Teneo              Financial Advisor for Creditors        87,226
Martin Disiere Jefferson Wisdom Special Counsel to Debtor
       Reynal Law Firm          Special Counsel to Debtor
       Rachel Kennerly          Tax Accountant
                                                                      511,790
                  Schedule of Payments to Insiders
                                June 1-14, 2023
             Payee                                                Amount


No Payments during the Period
